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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MONSTER ENERGY COMPANY,                        )
                                               )   Case No. 17-cv-00414
                       Plaintiff,              )
                                               )   Judge Robert M. Dow, Jr.
       v.                                      )
                                               )   Magistrate Judge Jeffrey Cole
ZHENG PENG, et al.,                            )
                                               )
                       Defendants.             )
                                               )

                  PLAINTIFF MONSTER ENERGY COMPANY’S
        RULE 56.1 STATEMENT OF MATERIAL FACTS IN SUPPORT OF ITS
      MOTION FOR SUMMARY JUDGMENT AND A STATUTORY DAMAGES
      AWARD AS TO THE DEFENDANTS IDENTIFIED BY AND OPERATING
       AT LEAST THE INTERNET STORES KUNGFUGRAPHICS, BESTAUTO
       COMPANY STORE, MAPLE-TODAY, LIJINGYAN_0, KIND-COMPANY,
           WILLINGSTORE16, CHANGLIANG1990, MKSTORE-CHINA,
      HUIZHENG1029, QIUSHUANGWUQING, HWYDO, BENSHUNBAO2014_5,
         WYNNBIBI, HAIYANG20910, 3349776, EASSALE, AND LUXURY86

       Pursuant to Local Rule 56.1(a)(3), Plaintiff Monster Energy Company (“Plaintiff” or

“MEC”) submits this Statement of Material Facts in support of its Motion for Summary Judgment

and a Statutory Damages Award as to the Defendants identified by and operating at least the

Internet stores kungfugraphics, BestAuto Company Store, maple-today, lijingyan_0, kind-

company, willingstore16, changliang1990, MKStore-China, huizheng1029, qiushuangwuqing,

hwydo, benshunbao2014_5, wynnbibi, haiyang20910, 3349776, eassale, and luxury86

(collectively, “Defendants”).

       1.      Plaintiff MEC holds numerous U.S. federal trademark registrations for its

trademarks, including the below marks (collectively referred to herein as the “MONSTER

ENERGY Trademarks”). [13] at ¶ 5.
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NO.   REGISTRATION     REGISTERED      REGISTRATION            INTERNATIONAL
        NUMBER         TRADEMARK          DATE                    CLASSES
        4,051,650                         November 8,    For: Clothing, namely, t-
                                             2011        shirts, hooded shirts and
 1                                                       hooded sweatshirts, sweat
                                                         shirts, jackets, pants,
                                                         bandanas, sweat bands and
                                                         gloves; headgear, namely
                                                         hats and beanies in class
                                                         025.
        3,963,669                      May 17, 2011      For: All-purpose sport bags;
                                                         all-purpose carrying bags;
 2                                                       backpacks; duffel bags in
                                                         class 018.



        3,963,668                      May 17, 2011      For: Stickers; sticker kits
                                                         comprising stickers and
 3                                                       decals; decals; posters in
                                                         class 016.



        3,923,683                         February 22,   For: All-purpose sport bags;
                                             2011        all-purpose carrying bags;
                                                         backpacks; duffle bags in
 4                                                       class 018.




        3,908,600                         January 18,    For: Stickers; sticker kits
                                             2011        comprising stickers and
                                                         decals; decals in class 016.
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            4,011,301                               August 16,     For: Sports helmets; video
                                                      2011         recordings featuring sports,
  6                                                                extreme sports, and motor
                                                                   sports in class 009.




The above U.S. registrations for the MONSTER ENERGY Trademarks are valid, subsisting, and

in full force and effect. Id. at ¶ 6. Pursuant to 15 U.S.C. § 1065, U.S. Trademark Registration

Nos. 3,963,669 and 3,963,668 are incontestable. Declaration of Bruce Kingsland (“Kingsland

Declaration”) at ¶ 4.


       2.      MEC has registered its copyrighted       design (the “Monster Energy Copyrighted

Design”) with the United States Copyright Office. [13] at ¶ 12. The registrations include, but are

not limited to, “Stylized claw with jagged edges (original version)” (U.S. Copyright Registration

No. VA 1-789-900), issued by the Register of Copyrights on October 11, 2011, and the

corresponding supplemental registration changing ownership name from Hansen Beverages

Company to Monster Energy Company: VA 1-433-242. Id.

       3.      Defendants were advertising, offering for sale and/or selling products using

counterfeit versions of the MONSTER ENERGY Trademarks through the Online Marketplace

Account identified as kungfugraphics at the URL ebay.com/usr/kungfugraphics.           Kingsland

Declaration at ¶¶ 7-8. Specifically, Defendants advertised and offered for sale unauthorized

stickers bearing counterfeit versions of the MONSTER ENERGY Trademarks to United States

residents for $9.90 USD. Id. at ¶ 8. Defendants identified the products as “Monster Energy Team

Racing Sticker Sheet Deco Grafische Dirt Bike Motor Graphics.” Id. MEC examined the images

of the stickers shown on the Online Marketplace Account identified as kungfugraphics at the URL



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ebay.com/usr/kungfugraphics and determined that the product was not authorized by MEC, and

therefore counterfeit. Id. at ¶¶ 7, 41.

       4.      Defendants were advertising, offering for sale and/or selling products using

counterfeit versions of the MONSTER ENERGY Trademarks through the Online Marketplace

Account identified as BestAuto Company Store at the URL aliexpress.com/store/2660171.

Kingsland Declaration at ¶¶ 9-10. Specifically, Defendants advertised and offered for sale

unauthorized gloves bearing counterfeit versions of the MONSTER ENERGY Trademarks to

United States residents for $49.90 USD. Id. at ¶ 10. Defendants identified the products as “1Pair

Motorcycle Leather Gloves Carbon Fibre Gloves Scrambling Motorcycle Cycle Racing Gloves.”

Id. MEC examined the images of the gloves shown on the Online Marketplace Account identified

as BestAuto Company Store at the URL aliexpress.com/store/2660171 and determined that the

product was not authorized by MEC, and therefore counterfeit. Id. at ¶¶ 9, 41.

       5.      Defendants were advertising, offering for sale and/or selling products using

counterfeit versions of the MONSTER ENERGY Trademarks through the Online Marketplace

Account identified as maple-today at the URL ebay.com/usr/maple-today. Kingsland Declaration

at ¶¶ 11-12. Specifically, Defendants advertised and offered for sale unauthorized gloves bearing

counterfeit versions of the MONSTER ENERGY Trademarks to United States residents for $7.49

USD. Id. at ¶ 12. Defendants identified the products as “Motorcycle Motocross Riding Racing

Bike Cycling Full Finger Gloves M/L/XL/XXL.” Id. MEC examined the images of the gloves

shown on the Online Marketplace Account identified as maple-today at the URL

ebay.com/usr/maple-today and determined that the product was not authorized by MEC, and

therefore counterfeit. Id. at ¶¶ 11, 41.




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          6.   Defendants were advertising, offering for sale and/or selling products using

counterfeit versions of the MONSTER ENERGY Trademarks through the Online Marketplace

Account identified as lijingyan_0 at the URL ebay.com/usr/lijingyan_0. Kingsland Declaration at

¶¶ 13-14. Specifically, Defendants advertised and offered for sale unauthorized stickers bearing

counterfeit versions of the MONSTER ENERGY Trademarks to United States residents for $8.98

USD. Id. at ¶ 14. Defendants identified the products as “New Monster Energy Drink Car reflective

stickers for one set cool racing decals.” Id. MEC examined the images of the stickers shown on

the Online Marketplace Account identified as lijingyan_0 at the URL ebay.com/usr/lijingyan_0

and determined that the product was not authorized by MEC, and therefore counterfeit. Id. at ¶¶

13, 41.

          7.   Defendants were advertising, offering for sale and/or selling products using

counterfeit versions of the MONSTER ENERGY Trademarks through the Online Marketplace

Account identified as kind-company at the URL ebay.com/usr/kind-company.             Kingsland

Declaration at ¶¶ 15-16. Specifically, Defendants advertised and offered for sale unauthorized

stickers bearing counterfeit versions of the MONSTER ENERGY Trademarks to United States

residents for $9.99 USD. Id. at ¶ 16. Defendants identified the products as “1set/2pcs white Car

energy PVC badge sticker For monster rear-view review mirror.” Id. MEC examined the images

of the stickers shown on the Online Marketplace Account identified as kind-company at the URL

ebay.com/usr/kind-company and determined that the product was not authorized by MEC, and

therefore counterfeit. Id. at ¶¶ 15, 41.

          8.   Defendants were advertising, offering for sale and/or selling products using

counterfeit versions of the MONSTER ENERGY Trademarks through the Online Marketplace

Account identified as willingstore16 at the URL ebay.com/usr/willingstore16.         Kingsland



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Declaration at ¶¶ 17-18. Specifically, Defendants advertised and offered for sale unauthorized

gloves bearing counterfeit versions of the MONSTER ENERGY Trademarks to United States

residents for $19.47 USD. Id. at ¶ 18. Defendants identified the products as “Hot Riding

Motorcycle Gloves Breathable Gloves Full Finger MCS-16.” Id. MEC examined the images of

the gloves shown on the Online Marketplace Account identified as willingstore16 at the URL

ebay.com/usr/willingstore16 and determined that the product was not authorized by MEC, and

therefore counterfeit. Id. at ¶¶ 17, 41.

       9.      Defendants were advertising, offering for sale and/or selling products using

counterfeit versions of the MONSTER ENERGY Trademarks through the Online Marketplace

Account identified as changliang1990 at the URL ebay.com/usr/changliang1990. Kingsland

Declaration at ¶¶ 19-20. Specifically, Defendants advertised and offered for sale unauthorized

backpacks bearing counterfeit versions of the MONSTER ENERGY Trademarks to United States

residents for $9.98 USD. Id. at ¶ 20. Defendants identified the products as “Boys Girls Casual

luminous Galaxy Rucksack Shoulder travel Backpack School Bag.” Id. MEC examined the

images of the backpacks shown on the Online Marketplace Account identified as changliang1990

at the URL ebay.com/usr/changliang1990 and determined that the product was not authorized by

MEC, and therefore counterfeit. Id. at ¶¶ 19, 41.

       10.     Defendants were advertising, offering for sale and/or selling products using

counterfeit versions of the MONSTER ENERGY Trademarks through the Online Marketplace

Account identified as MKStore-China at the URL aliexpress.com/store/629971.          Kingsland

Declaration at ¶¶ 21-22. Specifically, Defendants advertised and offered for sale unauthorized

stickers bearing counterfeit versions of the MONSTER ENERGY Trademarks to United States

residents for $4.50 USD. Id. at ¶ 22. Defendants identified the products as “Motorbike Oil Tank



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Pad Sticker Gas Protector For YZF R1 R6 CRF50 CRF150 CRF600 GSXR600 GSXR700 KLX

SSR Lifan Free shipping.” Id. MEC examined the images of the stickers shown on the Online

Marketplace Account identified as MKStore-China at the URL aliexpress.com/store/629971 and

determined that the product was not authorized by MEC, and therefore counterfeit. Id. at ¶¶ 21,

41.

         11.   Defendants were advertising, offering for sale and/or selling products using

counterfeit versions of the MONSTER ENERGY Trademarks through the Online Marketplace

Account identified as huizheng1029 at the URL ebay.com/usr/huizheng1029.             Kingsland

Declaration at ¶¶ 23-24. Specifically, Defendants advertised and offered for sale unauthorized

stickers bearing counterfeit versions of the MONSTER ENERGY Trademarks to United States

residents for $0.99 USD. Id. at ¶ 24. Defendants identified the products as “10pcs Skull Hand

Sticker Bomb Decal Vinyl Roll Car Skate Skateboard Laptop.” Id. MEC examined the images of

the stickers shown on the Online Marketplace Account identified as huizheng1029 at the URL

ebay.com/usr/huizheng1029 and determined that the product was not authorized by MEC, and

therefore counterfeit. Id. at ¶¶ 23, 41.

         12.   Defendants were advertising, offering for sale and/or selling products using

counterfeit versions of the MONSTER ENERGY Trademarks through the Online Marketplace

Account identified as qiushuangwuqing at the URL ebay.com/usr/qiushuangwuqing. Kingsland

Declaration at ¶¶ 25-26. Specifically, Defendants advertised and offered for sale unauthorized

stickers bearing counterfeit versions of the MONSTER ENERGY Trademarks to United States

residents for $6.99 USD. Id. at ¶ 26. Defendants identified the products as “Monster Movie Icon

XBOX ONE S Console Sticker+2 Controllers Decal Vinyl Skin.” Id. MEC examined the images

of the stickers shown on the Online Marketplace Account identified as qiushuangwuqing at the



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URL ebay.com/usr/qiushuangwuqing and determined that the product was not authorized by MEC,

and therefore counterfeit. Id. at ¶¶ 25, 41.

       13.     Defendants were advertising, offering for sale and/or selling products using

counterfeit versions of the MONSTER ENERGY Trademarks through the Online Marketplace

Account identified as hwydo at the URL ebay.com/usr/hwydo. Kingsland Declaration at ¶¶ 27-

28. Specifically, Defendants advertised and offered for sale unauthorized backpacks using

counterfeit versions of the MONSTER ENERGY Trademarks to United States residents for $79.99

CAN, approximately $59.69 USD. Id. at ¶ 28. Defendants identified the products as “Motorcycle

Helmet bag Waterproof High capacity Backpack tank bags shoulder bag.” Id. MEC examined

the images of the backpacks shown on the Online Marketplace Account identified as hwydo at the

URL ebay.com/usr/hwydo and determined that the product was not authorized by MEC, and

therefore counterfeit. Id. at ¶¶ 27, 41.

       14.     Defendants were advertising, offering for sale and/or selling products using

counterfeit versions of the MONSTER ENERGY Trademarks through the Online Marketplace

Account identified as benshunbao2014_5 at the URL ebay.com/usr/benshunbao2014_5.

Kingsland Declaration at ¶¶ 29-30. Specifically, Defendants advertised and offered for sale

unauthorized backpacks bearing counterfeit versions of the MONSTER ENERGY Trademarks to

United States residents for $20.22 USD. Id. at ¶ 30. Defendants identified the products as “Black

Noctilucent Men Women School Bag Girls Travel Backpack Shoulder Rucksack.” Id. MEC

examined the images of the backpacks shown on the Online Marketplace Account identified as

benshunbao2014_5 at the URL ebay.com/usr/benshunbao2014_5 and determined that the product

was not authorized by MEC, and therefore counterfeit. Id. at ¶¶ 29, 41.




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       15.     Defendants were advertising, offering for sale and/or selling products using

counterfeit versions of the MONSTER ENERGY Trademarks through the Online Marketplace

Account identified as wynnbibi at the URL ebay.com/usr/wynnbibi. Kingsland Declaration at ¶¶

31-32. Specifically, Defendants advertised and offered for sale unauthorized stickers bearing

counterfeit versions of the MONSTER ENERGY Trademarks to United States residents for $14.00

USD. Id. at ¶ 32. Defendants identified the products as “For Monster Energy Logo Door Side

Badge Metal Blade Decal Fender Side Sticker.” Id. MEC examined the images of the stickers

shown on the Online Marketplace Account identified as wynnbibi at the URL

ebay.com/usr/wynnbibi and determined that the product was not authorized by MEC, and therefore

counterfeit. Id. at ¶¶ 31, 41.

       16.     Defendants were advertising, offering for sale and/or selling products using

counterfeit versions of the MONSTER ENERGY Trademarks through the Online Marketplace

Account identified as haiyang20910 at the URL ebay.com/usr/haiyang20910.            Kingsland

Declaration at ¶¶ 33-34. Specifically, Defendants advertised and offered for sale unauthorized

sports helmets bearing counterfeit versions of the MONSTER ENERGY Trademarks to United

States residents for $34.77 USD. Id. at ¶ 34. Defendants identified the products as “S-XL*Off-

Road Racing Motocross Helmets 2 Color.” Id. MEC examined the images of the sports helmets

shown on the Online Marketplace Account identified as haiyang20910 at the URL

ebay.com/usr/haiyang20910 and determined that the product was not authorized by MEC, and

therefore counterfeit. Id. at ¶¶ 33, 41.

       17.     Defendants were advertising, offering for sale and/or selling products bearing

unauthorized copies of the Monster Energy Copyrighted Design through the Online Marketplace

Account identified as 3349776 at the URL ebay.com/usr/3349776. Kingsland Declaration at ¶¶



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35-36.    Specifically, Defendants advertised and offered for sale unauthorized automotive

accessories bearing unauthorized copies of the Monster Energy Copyrighted Design to United

States residents for $8.98 USD. Id. at ¶ 36. Defendants identified the products as “Black Energy

Carbon Fiber Embroidery Car Seat Belt Cushion Shoulder Pad Cover.” Id. MEC examined the

images of the automotive accessories shown on the Online Marketplace Account identified as

3349776 at the URL ebay.com/usr/3349776 and determined that the product was not authorized

by MEC. Id. at ¶¶ 35, 41.

         18.   Defendants were advertising, offering for sale and/or selling products bearing

unauthorized copies of the Monster Energy Copyrighted Design through the Online Marketplace

Account identified as eassale at the URL ebay.com/usr/eassale. Kingsland Declaration at ¶¶ 37-

38. Specifically, Defendants advertised and offered for sale unauthorized automotive accessories

bearing unauthorized copies of the Monster Energy Copyrighted Design to United States residents

for $9.74 USD. Id. at ¶ 38. Defendants identified the products as “2pcs Black Auto Seat Belt

Cover Pads Shoulder Cushion Monster.” Id. MEC examined the images of the automotive

accessories shown on the Online Marketplace Account identified as eassale at the URL

ebay.com/usr/eassale and determined that the product was not authorized by MEC. Id. at ¶¶ 37,

41.

         19.   Defendants were advertising, offering for sale and/or selling products bearing

unauthorized copies of the Monster Energy Copyrighted Design through the Online Marketplace

Account identified as luxury86 at the URL ebay.com/usr/luxury86. Kingsland Declaration at ¶¶

39-40.    Specifically, Defendants advertised and offered for sale unauthorized automotive

accessories bearing unauthorized copies of the Monster Energy Copyrighted Design to United

States residents for $24.98 USD. Id. at ¶ 40. Defendants identified the products as “2*claw paw



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energy Carbon Fiber & Embroidery Seats Gat Stop Gap Filler Holster.” Id. MEC examined the

images of the automotive accessories shown on the Online Marketplace Account identified as

luxury86 at the URL ebay.com/usr/luxury86 and determined that the product was not authorized

by MEC. Id. at ¶¶ 39, 41.

       20.     In addition, MEC’s investigator purchased products offered for sale on each of the

Defendant Internet Stores, with the exception of the Defendant Internet Store MKStore-China.

Kingsland Declaration at ¶ 6. The products purchased from the Defendant Internet Stores were

delivered to the address used by MEC’s investigator. Declaration of Theodore Burns at ¶¶ 2-72.

MEC examined photos of the products received from the Defendant Internet Stores and confirmed

that the products were not authorized by MEC and counterfeit. Kingsland Declaration at ¶ 41.

MEC further reviewed images of the products received from the Defendant Internet Stores and

confirmed the products received bore one or both of the MONSTER ENERGY Trademarks and/or

the Monster Energy Copyrighted Design, and were not authorized by MEC and counterfeit. Id.

       21.     MEC has not licensed or authorized the Defendants to use the MONSTER

ENERGY Trademarks or the Monster Energy Copyrighted Design on or in connection with the

Defendant Internet Stores. Kingsland Declaration at ¶ 42. Defendants are not authorized retailers

of genuine MONSTER ENERGY brand products, and the products advertised, offered for sale and

sold on the Defendant Internet Stores are not genuine MONSTER ENERGY brand products. Id.

       22.     Defendants’ counterfeiting and infringement operation consists of using at least the

Defendant Internet Stores to offer for sale and sell products over the Internet to the United States,

including to Illinois residents. Amended Complaint [9] at ¶ 2; Kingsland Declaration at ¶ 6. The

Defendant Internet Stores offer shipping to the United States, including Illinois, and have

advertised, offered for sale and sold products using counterfeit versions of the MONSTER



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ENERGY Trademarks and unauthorized copies of the Monster Energy Copyrighted Design to

residents of Illinois. Id.



Dated this 21st day of March 2017.     Respectfully submitted,

                                       /s/ Justin R. Gaudio
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                                       Attorneys for Monster Energy Company




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                                 CERTIFICATE OF SERVICE
       I hereby certify that on the 21st day of March 2017, I will electronically file the foregoing

with the Clerk of the Court using the CM/ECF system. The CM/ECF system will send a “Notice

of E-Filing” to the attorneys of record in this case.

                                               /s/ Justin R. Gaudio
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